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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF CONNECTICUT



 VIKY SARAI FLORES BENITEZ,
 ANA DELMI BENITEZ ALVARADO,
 JAVIN BENIGNO SANTOS GALVEZ,
 and J.S.R., a minor,

                                                    Case No. 3:22-cv-00884-JCH
              Plaintiffs,

                                                    NOTICE OF APPEARANCE
                       v.


 STEPHEN MILLER, JEFFERSON B.
 SESSIONS, KIRSTJEN NIELSEN, KEVIN
 McALEENAN, and UNITED STATES OF
 AMERICA,

             Defendants.




To:    The clerk of the court and all parties of record

I am admitted to practice pro hac vice in this court, and I appear in this case as counsel for
Plaintiffs Viky Sarai Flores Benitez, Ana Delmi Benitez Alvarado, Javin Benigno Santos Galvez,
and J.S.R.

Date: July 21, 2022

                                              /s/ Kirby Tyrrell
                                              Kirby Tyrrell phv206703
                                              Jerome N. Frank Legal Services Organization
                                              Yale Law School
                                              P.O. Box 902020
                                              New Haven, CT 06520-9090
                                              kirby.tyrrell@ylsclinics.org
                                              Work: (203) 436-8971
                                              Fax: (203) 432-1426
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                                 CERTIFICATE OF SERVICE


I, Kirby Tyrrell, hereby certify that on July 21, 2022, a copy of the foregoing Notice of
Appearance for Kirby Tyrrell was filed electronically and served by mail on anyone unable to
accept electronic filing. Notice of this filing will be sent by e-mail to all parties by operation of
the Court’s electronic filing system or by mail as indicated on the Notice of Electronic Filing.
Parties may access this filing through the Court’s CM/ECF System.


Date: July 21, 2022


                                               /s/ Kirby Tyrrell
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